             Case 2:13-cr-00160-TLN-AC Document 73 Filed 10/29/14 Page 1 of 2


     MARK REICHEL (Cal. SBN #155034)
 1   REICHEL & PLESSER LLP
 2
     455 Capitol Mall, Suite 350
     Sacramento, CA. 95814
 3   Tel. (916) 498-9258
     Fax (888) 567-2949
 4
     E-Mail: mark@reichellaw.com
 5
     Attorney for Defendant
 6   ALEXANDER SAKHANISKY

 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 13-CR-160 MCE
                                                     )
12                                                   )       STIPULATION AND
            Plaintiff,                               )       ORDER CONTINUING STATUS
13                                                   )       CONFERENCE;ORDER
     V.                                              )
14                                                   )
     ALEXANDER SAKHANISKY et al                      )       Date: November 20, 2014
15                                                   )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Morrison C. England, Jr.
16                                                   )
            Defendants.                              )
17                                                   )
                                                     )
18

19
            IT IS HEREBY STIPULATED by and between the parties hereto through their
20
     respective counsel, the undersigned Assistant United States Attorney, attorney for Plaintiff, and
21
     The undersigned attorneys for defendants, that the present date for the status conference shall be
22
     re calendared for November 20, 2014.
23
            All counsel and all clients are continuing their review of the discovery provided,
24
     conducting legal research and factual development, and engaging in efforts to resolve the case.
25
     As such, based upon the foregoing, all counsel and defendants agree that the time under the
26
     Speedy Trial Act from the date this stipulation is lodged, through November 20, 2014, should
27
     be excluded in computing the time within which trial must commence under the Speedy Trial
28
     Act, pursuant to Title 18 U.S.C. § 3161 (H) (7) (B) (iv) and Local Code T4.


                                                         1
             Case 2:13-cr-00160-TLN-AC Document 73 Filed 10/29/14 Page 2 of 2



 1   DATED: October 28, 2014. Respectfully submitted,
 2   /s/ Mark J. Reichel
 3   Attorney for defendant Sakhanisky
 4

 5   /s/ Mark J. Reichel for
 6   Shari Rusk, Esq.
 7   Attorney For Defendant Sakhanisky
 8   BENJAMIN B. WAGNER
 9   United States Attorney
10   /s/ Mark J. Reichel for:
11   MICHAEL ANDERSON
12   Assistant U.S. Attorney
13   Attorney for Plaintiff
14

15                                               ORDER
16          For the reasons set forth above, the Court finds that there is good cause for the
17   continuance and the exclusion of time, and that the ends of justice served by this continuance
18   outweigh the best interests of the public and the defendant in a speedy trial. Time is excluded
19   pursuant to 18 U.S.C. Section 3161(h)(7).
20          IT IS SO ORDERED.
21   Dated: October 29, 2014
22

23

24

25

26

27

28




                                                    2
